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UNITED STATES DISTRICT COURT i:l§..:;`ffl iii M D.U.
WESTERN DISTRICT OF TENNESSEE
Eastern Division U§ SEP “l Pi‘i 55 l£*
UNITED sTATES 0F AMERICA _ _>--i;; ' ‘ titan
c'..Li:\ l n §§Cl CGUET
-vs- Case No. li*ii')§c:i‘l!il(li€:i]i-FD'H`!S

DEMARCO HUGHES

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

- All purposes including trial and appeal

57‘
DONE and ORDERED in lll South Highland, Jackson, this / day of

September, 2005.
/@%M 75 ZM/W//

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Offlce

Assistant Federal Public Defender
Intake

DEMARCO HUGHES

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10060 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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Ste. B-S

Jacl<son7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

